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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES,
   INC.,

                     Plaintiff,                    CASE NO. 17-CV-00454-GKF-JFJ
   v.
                                                   PUBLIC – REDACTED VERSION
   CASTLE HILL STUDIOS LLC, et al.

                     Defendants.



        DEFENDANTS’ MOTION TO STRIKE DECLARATIONS OF STACY FRIEDMAN
             AND JOSH DAVIS SUBMITTED IN SUPPORT OF PLAINTIFF’S
                  MOTION FOR PARTIAL SUMMARY JUDGMENT
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           Defendants, Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks

   Development LLC (collectively, “CHG” or “Defendants”), move for an order striking the

   Declarations of Stacy Friedman and Josh Davis submitted in Support of Plaintiff’s Motion for

   Partial Summary Judgment.

   I.      INTRODUCTION

           Plaintiff Video Gaming Technologies, Inc. (“VGT”) submitted three declarations in support

   of its motion for partial summary judgment, two of which Castle Hill moves to strike.

           First, VGT submitted a 23-page declaration from its technical expert, Stacy Friedman, which

   contains new opinions not disclosed in Mr. Friedman’s two prior written expert reports. The use of

   Mr. Friedman’s undisclosed expert opinions contained in his declaration is not authorized by the

   Court’s expert disclosure schedule or the Rules governing supplemental expert opinions, and is

   prejudicial to Defendants. The Court should strike the declaration.

           Second, VGT submitted an 8-page undisclosed expert report cloaked as a declaration from a

   fact witness, software engineer Josh Davis. Mr. Davis was never disclosed by VGT as an expert in

   discovery, and he never submitted an expert report. His testimony stretches beyond lay testimony

   within his personal knowledge into technical opinions. His declaration also contains information

   which Castle Hill requested, and which VGT failed to provide, in discovery. The Court should strike

   this declaration as well.

   II.     STANDARD OF REVIEW

           Rule 26(a)(2)(A) requires that a party disclose the identity of all experts that a party intends

   to use at trial to present evidence under Federal Rules of Evidence 702, 703, or 705. See Fed. R. Civ.

   P. 26(a)(2)(A). Rule 26(a)(2)(B)(i) requires production of an expert report containing “a complete

   statement of all opinions the witness will express and the basis and reasons for them.” Fed. R. Civ.




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   P. 26(a)(2)(B)(i). Under Rule 26(a)(2)(D), a party must make the disclosures at the times and in the

   sequence that the court orders. See Fed. R. Civ. P. (26)(a)(2)(D).

           Rule 26(e)(1) requires a party to supplement disclosures made in discovery, as well as

   responses to interrogatories and requests for production. See Fed. R. Civ. P. 26(e)(1). Rule 26(e)(2),

   which specifies a parties’ obligations to supplement its expert disclosures, provides as follows:

           Expert Witness. For an expert whose report must be disclosed under Rule
           26(a)(2)(B), the party’s duty to supplement extends both to information included in
           the report and to information given during the expert’s deposition. Any additions or
           changes to this information must be disclosed by the time the party’s pretrial
           disclosures under Rule 26(a)(3) are due.

   Fed. R. Civ. P. 26(e)(2).

           “[A] supplemental expert opinion which attempts to strengthen or deepen opinions

   expressed in the original expert report ‘exceeds the bounds of permissible supplementation and is

   subject to exclusion under Rule 37(c)(1).’” Oklahoma v. Tyson Foods, Inc., 2009 WL 2252129 at *3

   (N.D. Okla. July 24, 2009) (Frizzell, J.) (citations omitted).

           If a party fails to provide information or identify a witness as required by Rule 26(a) or (e),

   the party is not allowed to use that information or witness to supply evidence on motion, at a

   hearing, or at trial, unless the failure was substantially justified or is harmless. See Fed. R. Civ. P.

   37(c)(1). “Under Rule 37(c)(1), a party’s failure to disclose the identity of an expert witness or

   provide an expert report, as required by Rule 26(a)(2), mandates that the court exclude expert

   testimony unless the failure was ‘substantially justified or is harmless.’” Tyson Foods, Inc., 2009 WL

   2252129 at *3 (quoting Fed. R. Civ. P. 37(c)(1)) (emphasis added). The trial court has broad

   discretion in determining whether a Rule 26(a) violation is justified or harmless. See Woodworker’s

   Supply, Inc. v. Principal Mut. Life Ins. Co., 17 F.3d 985, 993 (10th Cir. 1999).

           An affidavit or declaration used to support or oppose a motion for summary judgment must

   be made on personal knowledge, set out facts that would be admissible in evidence, and show that



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   the affiant or declarant is competent to testify on the matters stated. See Fed. R. Civ. P. 56(c)(4). On

   summary judgment, a declaration may not contain expert testimony unless the declarant has first

   been designated as an expert witness under Rule 26(a)(2). See Bryant v. Farmers Ins. Exchange, 432 F.3d

   1114, 1122 (10th Cir. 2005). For disclosed experts, Rule 26(a)(2)(B)(i) requires a complete written

   report containing all opinions and the reasons for those opinions; therefore, any undisclosed expert

   opinions contained in a declaration beyond those in the original report are inadmissible absent a

   showing that the nondisclosure was justified or harmless under Rule 37(c)(1). See Tyson Foods, Inc.,

   2009 WL 2252129 at *5. Any non-expert testimony in the form of opinions or inferences must be

   (1) rationally based on the perception of the witness; (2) helpful to a clear understanding of the

   witness’s testimony or determination of the facts in issue; and (c) not based on scientific, technical,

   or other specialized knowledge. Bryant, 432 F.3d at 1122-23 (quoting Fed. R. Evid. 701).

   III.    THE COURT SHOULD STRIKE THE FRIEDMAN DECLARATION

           A.      The Friedman Expert Reports and Declaration

           VGT has presented Stacy Friedman as a technical expert to opine on VGT’s trade dress and

   trade secret claims.1 See Opening Expert Report of Stacy Friedman (“Report”), dated August 10,

   2018. A true and correct copy of this Report is attached hereto as Exhibit A. Mr. Friedman

   summarizes his opinions on these subjects in Section III of his Report, at ¶¶ 11-15. Mr. Friedman

   also issued a reply report in response to Castle Hill’s rebuttal experts’ reports. See Reply Expert

   Report of Stacy Friedman, dated September 14, 2018 (“Reply Report”). A true and correct copy of

   the Reply Report (without exhibits) is attached hereto as Exhibit B.

           Mr. Friedman authored a 23-page declaration in support of VGT’s motion for partial

   summary judgment. See Declaration of Stacy Friedman in Support of Plaintiff’s Motion for Partial


           1
           Castle Hill has filed a Daubert motion to exclude the testimony and reports of Stacy
   Friedman at trial. See Doc. 172 (under seal). That motion is currently pending.


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   Summary Judgment (“Friedman Declaration”), dated October 11, 2018. A true and correct copy of

   this Declaration is attached hereto as Exhibit C.2

           The Freidman Declaration is merely a third bite at the apple, and reads like another expert

   report. It regurgitates, amplifies, and bolsters Mr. Friedman’s opinions in his original Report.

   Compare Ex. C, Friedman Declaration ¶¶ 1-9 (expert qualifications) with Ex. A, Report ¶¶ 1-9 (same);

   Ex. C, Friedman Declaration ¶¶ 11-18 (Class II game design and functionality) with Ex. A, Report ¶¶

   28-31, 55 (same); Ex. C, Friedman Declaration ¶¶ 19-21 (

                 ) with Ex. A, Report ¶¶ 65-66, 69 (same); Ex. C, Friedman Declaration ¶¶ 22-23

   (whether VGT takes steps to maintain secrecy of its alleged confidential information) with Ex. A,

   Report ¶¶ 85-87(same); Ex. C, Friedman Declaration ¶¶ 24-29 (

                                            ) with Ex. A, Report ¶¶ 70-71 (same); Ex. C, Friedman

   Declaration ¶¶ 30-35 (alleged value of                                          ) with Ex. A, Report ¶¶

   72-73 (same); and Ex. C, Friedman Declaration ¶¶ 36-40 (alleged use by Castle Hill of

                              ) with Ex. A, Report ¶¶ 111-19 (same).

           Although Mr. Friedman’s Declaration covers the same general topics as his prior reports, it

   contains substantially new and undisclosed expert opinions. In fact, Mr. Friedman admits in his

   Declaration that his new opinions, including opinions regarding

               , were not formed until after he reviewed the Declaration of Josh Davis, dated October 10,

   2018, well after the dates of Mr. Friedman’s reports. See Ex. C, Friedman Declaration ¶ 19 (




                                                                    ) (emphasis added). Mr. Freidman

           2
             A redacted copy of the Friedman Declaration was filed as Doc. 178-7, attached to
   Plaintiff’s Motion for Partial Summary Judgment. An unredacted copy of the Friedman Declaration
   was filed under seal as an attachment to Doc. 179.


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   repeatedly cites to the Davis Declaration and also relies on the Declaration of Richard Williamson,

   both executed after Mr. Friedman’s original reports were submitted, to support his new opinions. See

   e.g. Ex. C, Friedman Declaration ¶ 22 (citing Davis Declaration ¶¶ 14-16 and Williamson Declaration

   ¶ 3, executed October 10, 2018 and October 11, 2018, respectively); Ex. C, Friedman Declaration ¶

   31 (citing Davis Declaration ¶¶ 6-10, 17).

           In addition to including new opinions, Mr. Friedman’s opinions in his Declaration are

   substantially more detailed than in his original Report. For example, his opinions regarding



               . Compare Ex. C, Friedman Declaration ¶¶ 19(a)-(f), 20-21 with Ex. A, Report, ¶¶ 65-66.

   Likewise, Mr. Friedman’s opinions regarding Castle Hill’s alleged misappropriation of

                          have been substantially updated, and now includes a computer source code

   analysis and comparison, whereas before Mr. Friedman relied solely on documents, testimony and

   descriptions from other witnesses. Compare Ex. C, Friedman Declaration ¶¶ 36-40 (alleged use by

   Castle Hill of                                          ) with Ex. A, Report ¶¶ 111-19 (same). In fact,

   in his Reply Report, Mr. Friedman specifically admitted that he did not perform a source code

   comparison.3 See Ex. B, Reply Report ¶ 73

                       ). Mr. Friedman also uses this sur-reply styled “Declaration” as an opportunity to

   insert commentary on the deposition testimony of Castle Hill’s expert, Robert Zeidman, who was

   deposed after Mr. Friedman was deposed and issued all of his reports. See Ex. C, Friedman

   Declaration ¶¶ 38-39.




           3
            Mr. Friedman’s failure to complete a source code analysis is the basis for a portion of
   Castle Hill’s Daubert motion seeking to exclude his report and testimony as well as Castle Hill’s
   motion for summary judgment. See Doc. 172 at 16-18; Doc. 184, SOF ¶ 71 and pp. 47-48.


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          Mr. Friedman’s new opinions, which were admittedly formed at the eleventh hour after his

  expert report and after his deposition, but before the summary judgment deadline with no apparent

  justification, and which are prejudicial to Castle Hill, should be stricken.

  B.      The Friedman Declaration is an Improper Supplemental Expert Report

          The Court should strike the Friedman Declaration because it is an improper supplemental

  expert report. VGT had an obligation to serve a copy of the Friedman Report containing a

  “complete statement of all opinions the witness will express and the basis and reasons for them.” See

  Fed. R. Civ. P. 26(a)(2)(B)(i). Opening expert reports were due by August 10, 2018, and reply expert

  reports were due by September 14, 2018. See Doc. 101. After providing his Report and Reply Report

  on those dates, Mr. Friedman was deposed on September 24, 2018. Mr. Friedman did not

  supplement or correct any of his opinions at any time before expert discovery closed. Instead, VGT

  waited until the Friedman Declaration was filed on the summary judgment and Daubert motions

  deadlines of October 12, 2018 to supplement Mr. Friedman’s opinions.

          As explained above, Mr. Friedman included substantially new opinions in his Declaration,

  including new opinions relating to, inter alia, the functionality of

            , comparisons between Castle Hill and VGT’s source code, additional opinions regarding

  the various elements of VGT’s trade secret claims, and analysis of deposition testimony from Castle

  Hill’s expert, who was deposed after the Friedman reports were issued.

          This is improper supplementation under the Rules. “Rule 26(e) does not cover failures of

  omission because the expert did an inadequate or incomplete preparation. To construe

  supplementation to apply whenever a party wants to bolster or submit additional expert opinions

  would reek [sic] havoc in docket control and amount to unlimited expert opinion preparation.” Tyson

  Foods, Inc., 2009 WL 2252129 at *3 (quoting Aveka L.L.C. v. Mizuno Corp., 212 F.R.D. 306, 310

  (M.D.N.C. 2002)). Rule 26(e) “does not give license to sandbag one’s opponent” with opinions that



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  should have been included in an expert report.” See id. (citation omitted); see also S.E.C. v. Nacchio,

  2008 WL4587240 at *3 n.3 (D. Colo. Oct. 15, 2008) (Rule 26(e)(1) supplementation only permitted

  “for the narrow purpose for correcting inaccuracies or adding information that was not available at

  the time of the initial report.”); Jackson v. Teamsters Local Union 922, 312 F.R.D. 235, 237 (D.D.C.

  2015) (same) (compiling cases).

          The 23-page Friedman Declaration, which contains all of the features of an expert report –

  including Mr. Friedman’s qualifications, an attached curriculum vitae, citations to materials relied

  upon, and expert opinions, including new ones – “is essentially a new expert report with new

  opinions.” See Palmer v. Asarco Inc., 2007 WL 2253343 at *3 (N.D. Okla. Aug. 3, 2007) (holding

  defendants would need time to depose plaintiff’s expert, prepare a meaningful Daubert challenge, and

  that the “new affidavit presents a clear violation of Rule 26(a)(2), and the rule was designed to

  prevent exactly this type of late disclosure of expert opinions.”). This type of supplemental report

  “that states additional opinions expressed in the original expert report exceeds the bounds of

  permissible supplementation and is subject to exclusion under Rule 37(c)(1).” Rodgers v. Beechcraft

  Corp., 2017 WL 465474 at *5 (N.D. Okla. Feb. 3, 2017) (quoting Cook v. Rockwell Int’l Corp., 2006 WL

  3533049 at *87 (D. Colo. Dec. 7, 2006)). “To rule otherwise would create a system where

  preliminary [expert] reports could be followed by supplementary reports and there would be no

  finality to expert reports, as each side, in order to buttress its case or position, could ‘supplement’

  existing reports and modify opinions previously given. This result would be the antithesis of the full

  expert disclosure requirements stated in Rule 26(a).” Id.

          The Court should strike the Friedman Declaration, because it is an improper supplemental

  expert report, and to the extent any portions are proper, they are entirely duplicative and appear to

  be taken directly from his prior reports. At a minimum, the Court should strike the additional

  opinions and commentary in the Friedman Declaration which are not copied verbatim from his



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  original Report.4 See Tyson Foods, Inc., 2009 WL 2252129 at *8 (striking commentary concerning

  figures of expert report from expert declaration in support of summary judgment). Given the 20-

  plus page scope of the “Declaration,” to the extent that the Court is not inclined to strike the entire

  Declaration and cannot decipher which opinions are taken from Mr. Friedman’s Report and which

  are new, the Court should order VGT to bear the burden to identify this information for the Court.

  See id. (ordering plaintiff to file revised affidavit in which each opinion references paragraph in

  expert report supporting the opinion in the affidavit). Given that all opinions are either duplicative

  of the existing report or are new, the Court should strike the entire Declaration. See Rodgers v.

  Beechcraft Corp., 2017 WL 465474 at *5 (striking expert’s affidavit and finding restated portions of

  expert report contained in affidavit are “essentially irrelevant” and new opinions were improper

  supplementation).

          C.      The Friedman Declaration is Neither Justified nor Harmless

          VGT’s untimely disclosure of Mr. Friedman’s new opinions set forth in the Friedman

  Declaration is neither justified nor harmless, and the Declaration is therefore inadmissible. Rule

  26(a)(2)(B)(i) requires a complete written report containing all opinions and the reasons for those

  opinions. Any undisclosed expert opinions contained in a declaration beyond those in the original

  report are inadmissible absent a showing that the nondisclosure was justified or harmless under Rule

  37(c)(1). See Tyson Foods, Inc., 2009 WL 2252129 at *5. In determining whether the nondisclosures are


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            In addition to being improper supplemental expert opinions, Mr. Friedman appears to rely
  upon and copy several paragraphs from the Davis Declaration. Mr. Friedman therefore offers
  opinions not within his personal knowledge in reliance on Mr. Davis’ Declaration. Additionally, the
  admissibility of Mr. Davis’ opinions themselves are challenged, infra. The Friedman Declaration
  should therefore also be stricken because Mr. Friedman lacks personal knowledge and relies upon
  inadmissible evidence. See Fed. R. Civ. P. 56(c)(4) (“An affidavit or declaration used to support or
  oppose a motion must be made on personal knowledge, set out facts that would be admissible in
  evidence, and show that the affiant or declarant is competent to testify on the matters stated.”); see
  also Bryant, 432 F.3d at 1122 (content of summary judgment affidavit must be admissible evidence
  based on personal knowledge).


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  justified or harmless, the Court should consider the following factors: (1) the prejudice or surprise to

  the party against whom the testimony is offered; (2) the ability of the party to cure the prejudice; (3)

  the extent to which introducing such testimony would disrupt trial; and (4) the moving party’s bad

  faith or willfulness. Woodworker’s Supply, Inc., 17 F.3d at 993.

          First, if VGT is able to rely upon the Declaration, Castle Hill will be prejudiced. It is

  prejudicial to Castle Hill that VGT’s expert’s reports did not reveal the full scope of what Mr.

  Friedman would testify to at trial. See Jacobsen v. Deseret Book Co., 287 F.3d 936, 953 (10th Cir. 2002)

  (prejudicial when expert reports do not identify substance of the experts’ testimony). Mr. Friedman’s

  report is an attempt to bolster his original report, and Castle Hill is prejudiced because it cannot now

  take discovery on his new opinions. See Tyson Foods, Inc., 2009 WL 2252129 at *10 (striking 33-page

  expert declaration submitted in response to Daubert motion, and finding opinions were primarily

  aimed at bolstering the expert’s original report and were “clearly prejudicial to defendants, who have

  not had an opportunity to conduct discovery on them.”).

          Castle Hill’s experts have already issued their rebuttal expert reports in reliance on Mr.

  Friedman’s Report. See Rebuttal Report of Robert Zeidman, dated August 31, 2018. A true and

  correct copy of this Report (without exhibits) is attached hereto as Exhibit D; see also Rebuttal

  Report of Joseph Valandra dated August 31, 2018. A true and correct copy of this Report (without

  exhibits) is attached hereto as Exhibit E; see also Rebuttal Expert Report of W. Todd Schoettelkotte

  Relating to Damages dated August 31, 2018. A true and correct copy of this Report (without

  schedules and exhibits) is attached hereto as Exhibit F. Castle Hill would also need to depose Mr.

  Friedman regarding his new opinions, and potentially supplement Castle Hill’s Daubert motion as to

  Mr. Friedman and its motion for summary judgment, which have already been prepared and are on

  file with the Court. This would delay the Court’s disposition of the many pre-trial motions, and

  perhaps its scheduled trial, and needlessly cause Defendants to incur additional costs and fee. See



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  Cohlmia v. Ardent Health Servs, LLC, 254 F.R.D. 426, 434 (N.D. Okla. 2008) (finding harm and

  striking expert reports where defendants commissioned expert reports in reliance on plaintiff’s

  reports and trial schedule would be impacted). As Magistrate Judge Cleary explained under

  analogous circumstances:

          Defendants will be prejudiced if the Plaintiffs are allowed to rely on the untimely
          disclosures set out in their Affidavits. Defendants did not receive Plaintiffs’ expert’s
          Affidavits until July 12, 2016 – after the close of discovery, after Plaintiffs’ experts
          had been deposed, after Defendants’ own experts had prepared their expert reports,
          after Defendants filed their Motion for Summary Judgment and after Defendants
          had filed their pending Daubert challenges. Allowing Plaintiffs’ experts to rewrite their
          expert reports will cause significant prejudice to Defendants’ preparation of this case.
          It would require re-opening all of the matters described above to afford Defendants
          an opportunity to consider and respond to the information in the Affidavits. This
          would result in substantial cost and delay to Defendants and would derail the
          efficient resolution of this case.

  Rodgers v. Beechcraft Corp., 2016 WL 7888048 at *7 (N.D. Okla. Sept. 20, 2016), report and recommendation

  adopted by, 2017 WL 465474 (N.D. Okla. Feb. 3, 2017) (striking expert affidavits submitted in

  response to Daubert motions).

          Second, there is no reasonable cure. Discovery has closed. Castle Hill has served expert

  reports addressing and relying on Mr. Friedman’s original Report, has already deposed Mr.

  Friedman, and has spent significant resources preparing a motion for summary judgment and a

  Daubert motion as to Mr. Friedman. It would be unreasonable and impractical to re-open the case to

  allow for new rebuttal reports, a new deposition of Mr. Friedman, and supplementation to Castle

  Hill’s motions, simply because Mr. Friedman did not submit a complete statement of his opinions in

  his opening Report. See Rodgers, 2016 WL 788048 at *7 (no reasonable cure where substantive

  motions had been filed, discovery had closed, and case would need to be re-opened for new expert

  reports and “starting the pretrial clock running anew”).

          Third, the introduction of the Declaration would delay trial. As set forth above, any cure to

  allow introduction of the Declaration would require a significant delay of trial in order to re-open



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  expert discovery and pretrial deadlines, including the preparation of summary judgment and Daubert

  motions. See Palmer, 2007 WL 2254343 at *4 (“The second and third factors are closely related,

  because the only way to cure the resulting prejudice would be to delay the trial date.”); Rodgers, 2016

  WL 788048 at *7 (holding re-deposing experts, additional expert reports by defendants’ experts, re-

  opening summary judgment record, and potential re-opening of discovery would disrupt trial

  schedule).

          Fourth, Mr. Friedman’s additional opinions suggest bad faith or willfulness. Mr. Friedman or

  VGT could have indicated to Castle Hill that Mr. Friedman was conducting further source code

  analysis and that he would be preparing additional opinions, or VGT could have sought leave of

  Court for additional time for Mr. Friedman to complete his initial Report. VGT did not do so.

  Instead, Castle Hill and its experts have spent significant time and resources in reliance on Mr.

  Friedman’s initial Report and opinions. His untimely 23-page supplemental expert “Declaration”

  suggests willful disregard of the Rules. See Rodgers, 2016 WL 788048 at *7 (Plaintiffs’ failure to alert

  Defendants that new expert opinions were being prepared weighed against plaintiffs).

          The Friedman Declaration is an improper supplemental expert report which is not justified

  and is harmful to Castle Hill. Accordingly, the Court should strike the Friedman Declaration.

  IV.     THE COURT SHOULD STRIKE THE DAVIS DECLARATION

          A.      The Davis Declaration and Prior Related Disclosures

          VGT employee Josh Davis also submitted a declaration in support of VGT’s motion for

  partial summary judgment. See Declaration of Josh Davis in Support of Plaintiff’s Motion for Partial

  Summary Judgment (“Davis Declaration”), dated October 10, 2018. A true and correct copy of the

  Davis Declaration is attached hereto as Exhibit G.5


          A redacted copy of the Davis Declaration was filed as Doc. 178-1, attached to Plaintiff’s
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  Motion for Partial Summary Judgment. An unredacted copy of the Davis Declaration was filed
  under seal as an attachment to Doc. 179.


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          Before filing Mr. Davis’ undisclosed expert report (styled as a “Declaration”), he had been

  identified only as a fact witness. As stated above, this Court established the following schedule for

  the disclosure of experts: (1) opening expert reports due August 10, 2018; (2) opposition expert

  reports due August 31, 2018; (3) reply expert reports due September 14, 2018; and (4) expert

  discovery cutoff September 28, 2018. See Doc. 101. The Court also required the parties to serve

  preliminary witness lists earlier in the case. See id. VGT served a preliminary witness list on February

  16, 2018 and identified Josh Davis as a fact witness, with a separate category for expert witnesses. See

  VGT’s Preliminary Witness List and Exhibit List, a true and correct copy of which is attached hereto

  as Exhibit H. On July 8, 2018, VGT served its Supplemental Preliminary Witness List and Exhibit

  List, again identifying Mr. Davis as a fact witness, with a separate category reserved for expert

  witnesses. See VGT’s Supplemental Preliminary Witness List and Exhibit List, a true and correct

  copy of which is attached hereto as Exhibit I.

          VGT designated Mr. Davis as a 30(b)(6) witness on the exact issues discussed in his

  declaration, and he was deposed on these issues on August 3, 2018: (1) the origin, creation, and

  development of the math underlying the VGT Class II games; (2) identification and creation of

                                                                         ; and (3) functionality of the

  VGT Class II games. See Deposition of Josh Davis, a true and correct copy of excerpts of which are

  attached hereto as Exhibit J, pp. 19-20. The Davis Declaration was not authored or produced in

  advance of the deposition, preventing Castle Hill from deposing Mr. Davis regarding its contents

  and his opinions. Although counsel for VGT was present at the deposition and could have solicited

  testimony eliminating the need for a declaration, allowing Castle Hill the chance to cross-examine




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  Mr. Davis on the issues, VGT’s counsel elected to only ask Mr. Davis approximately four pages of

  deposition questions and answers.6 See Ex. J, Davis Dep., pp. 156-60.

          VGT did not thereafter designate Mr. Davis as an expert or produce a report for him in

  accordance with the Court’s expert deadlines. Rather, VGT waited to attach the Davis Declaration

  to its motion for partial summary judgment. VGT’s failure to designate Mr. Davis as an expert

  precludes its use of his undisclosed expert opinions.

          Additionally, the Davis Declaration contains impermissible lay opinions not within Mr.

  Davis’ personal knowledge. Mr. Davis also offers various opinions based on his own subjective

  beliefs and speculation. The Court should strike the Declaration.

          Finally, the Davis Declaration includes opinions regarding issues about which Castle Hill

  requested information during discovery and which VGT failed to timely provide or supplement.

  VGT should not be permitted to hide the ball regarding its alleged trade secrets and trade secret

  claims throughout discovery and then submit an affidavit summarizing those same issues, the use of

  which is unjustified and harmful to Castle Hill. The Court should strike the Davis Declaration.

          B.      The Davis Declaration Contains Improper Expert Opinions, Opinions Not
                  Based on Personal Knowledge, and Information Beyond VGT’s Supplemental
                  Discovery Responses

          The Court should strike the Davis Declaration because it contains improper expert opinions,

  opinions not based on Mr. Davis’ personal knowledge, and information that VGT failed to provide

  in discovery.

          First, Mr. Davis was not designated as an expert under Rule 26(a)(2), so his Declaration,

  which contains expert testimony, should be stricken. See Bryant, 432 F.3d at 1122. Mr. Davis opines

  about how                                                                     is a “challenging issue”


          6
          VGT nonetheless criticizes Castle Hill for not questioning its own witness in VGT’s
  Motion to Exclude the Testimony of W. Todd Schoettelkotte in Part. See Doc. 163 at 12-13.


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  and how a Class II system must comply with specific regulatory requirements. See Ex. G, Davis

  Declaration ¶ 6. He also offers expert opinions on whether

                                           , see Ex. G, Davis Declaration ¶¶ 10, 14-17, including his

  opinion that

                           ” See Ex. G, Davis Declaration ¶ 15. Mr. Davis also opines that he is “

                                                                                            ” because “

                                                                  ” See Ex. G, Davis Declaration ¶ 18.

  These opinions are all expert opinions. Mr. Davis is a VGT engineer, but there is no basis for him to

  offer expert testimony about the Class II industry, regulatory requirements, confidentiality

  agreements with third-parties, or the business of other gaming companies and their practices. See

  Freeman v. Glanz, 2018 WL 4134669 at *7 (N.D. Okla. Aug. 29, 2018) (finding declarant was not a

  disclosed medical expert and unqualified to offer expert opinions). Moreover, Mr. Friedman has

  been designated as VGT’s expert on these same issues. VGT cannot have it both ways, claiming that

  Mr. Friedman’s opinions on these exact issues constitute expert “scientific, technical, or other

  specialized knowledge,” see Fed. R. Evid. 702, whereas Mr. Davis’ opinions on the same issues do

  not.

          Mr. Davis also reviews and opines on various documents, including                    documents

  in connection with his Declaration, which based on his Declaration are stored in a “

                             ” See Ex. G, Davis Declaration ¶¶ 4-5, 8-9. He testified in his 30(b)(6)

  deposition that he performed an                                   prior to the deposition. See Ex. G,

  Davis Dep. at 88-89. A review of documents in preparation for a 30(b)(6) deposition demonstrates

  Mr. Davis does not have personal knowledge of this information. Any opinions based on that

  review are expert opinions. See Freeman, 2018 WL 4134669 at *8 (“[Declarant’s] opinion statements

  in this regard are improper expert opinions given by a non-expert. [Declarant]’s conclusions are



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  based upon review of documents and video footage, rather than his knowledge as a fact witness.”).

  The Davis Declaration contains undisclosed expert testimony, and it should be stricken.

          Second, the Davis Declaration includes opinions not based on Mr. Davis’ personal

  knowledge. Mr. Davis concedes as much in his opening paragraph, indicating that he has personal

  knowledge of the facts in his Declaration “[e]xcept where otherwise indicated.” See Ex. G, Davis

  Declaration ¶ 1.

          Mr. Davis includes several statements indicating that he does not base his Declaration on

  personal knowledge. Mr. Davis includes opinions regarding “the regular practice” of “VGT

  engineers,” but he does not describe how or why he would have personal knowledge of the regular

  practice of all VGT engineers using any VGT source code. See Ex. G, Davis Declaration ¶ 6. These

  opinions are not based on personal knowledge and are speculative. See Argo v. Blue Cross & Blue

  Shield of Kansas, Inc., 452 F.3d 1193, 1200 (10th Cir. 2006) (striking paragraphs of affidavit based on

  lack of personal knowledge where declarant “was not in a position to acquire such comprehensive

  knowledge” regarding other co-workers); Freeman, 2018 WL 4134669 at *8 (affiant’s statement that

  he was “familiar” with employment practices based on observation alone held insufficient to satisfy

  personal knowledge requirement).

          Similarly, in regard to documents describing



          See Ex. G, Davis Declaration ¶ 15. He goes on to state that




                               See Ex. G, Davis Declaration ¶ 16. As an engineer, Mr. Davis does not

  describe how or why he would have personal knowledge of VGT’s confidentiality policies with third




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  parties, nor does he explain how he is personally aware of

                                                      . These opinions are mere speculation and belief.

          Mr. Davis’ opinions that he is



                                             See Ex. G, Davis Declaration ¶ 18. “Under the personal

  knowledge standard, an affidavit is inadmissible if ‘the witness could not have actually perceived or

  observed that which he testifies to.’” Argo, 452 F.3d at 1200. Mr. Davis’ statements about things he

  is “not aware” of are necessarily things he “could not have actually perceived or observed.” Because

  these opinions are merely speculative and his own subjective beliefs, they are not proper lay opinion

  and should be stricken. See id. (“[A]t the summary judgment stage, ‘statements of mere belief’ in an

  affidavit must be disregarded.”).

         Third, the Davis Declaration includes new opinions regarding information and summaries of

  information about which Castle Hill requested in discovery and that VGT failed to provide or

  supplement. Castle Hill served its First Set of Interrogatories on VGT on September 25, 2017, over

  a year ago. A true and correct copy of Castle Hill Studios LLC’s First Set of Interrogatories is

  attached hereto as Exhibit K. The fourth interrogatory requested that VGT:

         State all facts supporting your misappropriation of trade secrets claim. (As part of
         your answer, describe with specificity each trade secret you claim CHG
         misappropriated, and for each such trade secret (hereafter in this interrogatory, “it”)
         state when it was taken, how it was taken, who took it, how CHG obtained it, how
         CHG used it (including, if applicable, in which CHG Games it has been used), why it
         has independent economic value, the approximate value of it, VGT’s efforts to keep
         it secret, when such efforts to keep it secret began and finished, and why it could not
         be derived independently with publicly-available information).
  See Exhibit K, Interrogatory No. 4.

         VGT responded to Castle Hill’s First Set of Interrogatories, and then supplemented its

  responses numerous times throughout the discovery period. VGT served its Sixth Supplemental

  Objections and Responses on August 3, 2018, the last day of fact discovery. A true and correct copy


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  of certain excerpts of VGT’s Sixth Supplemental Objections and Responses to Defendant Castle

  Hill Studio LLC’s First Set of Interrogatories (Nos. 1-13) is attached hereto as Exhibit L. VGT’s

  total responses and supplemental responses to Interrogatory No. 4 spans approximately 32 pages.

  See Exhibit L, at 123-155. While VGT provided some details throughout its 32 page response

  regarding its                      , VGT did not provide the same level of detail with citations to

  source code as it did in the Davis Declaration. Compare, e.g., Ex. G, Davis Declaration ¶ 12(a) with

  Exhibit L at 132, 148. In fact, the Davis Declaration (and identical paragraphs in the Friedman

  Declaration) was the first time that VGT ever provided specific citations to source code for its

                               claims.

          The Davis Declaration includes additional details that were omitted from VGT’s lengthy

  interrogatory response. See e.g., Ex. G, Davis Declaration ¶ 12(a)



                                                                                                  . Such

  details were likewise not provided in the Davis 30(b)(6) deposition, see generally Ex. J, Davis Dep. at

  74-100. Consequently, Castle Hill and its experts had no notice of this detailed information until

  October 12, 2018. Likewise, the Davis Declaration includes more detail regarding the

                          than VGT had previously disclosed, even though Interrogatory No. 4

  specifically requested information regarding VGT’s efforts to maintain the secrecy of its alleged

  trade secrets. Compare Ex. G, Davis Declaration ¶¶ 4-5, 8-9, 14 with Ex. L, VGT’s Sixth

  Supplemental Interrogatory Responses, at 152-53, 159-60. Only after Mr. Davis was deposed

                                                                                . See Ex. J, Davis Dep. at

  88-90. Mr. Friedman included a bit more detail in his expert Report. See Ex. A, Report ¶ 86.

  However, until the Davis Declaration, VGT did not explain the its source code security features in




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  full, even though that information was requested a year ago, and this is an issue on which VGT has

  the burden of proof at trial.

          VGT’s failure to provide complete responses to Castle Hill’s interrogatories during the

  discovery period should bar VGT from using the Davis Declaration to explain its trade secrets and

  support its claim. Castle Hill demanded repeatedly throughout discovery that VGT explain its trade

  secrets in detail,

                                               . See e.g., Correspondence from R. Gill to M. Sawyer

  dated April 9, 2018 (“




                                         ). A true and correct copy of the Correspondence from R. Gill

  to M. Sawyer dated April 9, 2018 is attached hereto as Exhibit M.

          While VGT did provide an increasing level of detail about its alleged trade secrets, VGT

  never fully cooperated and provided the level of detail that it was obligated to provide. VGT’s

  interrogatory responses, for all of their length, are vague, conclusory and full of self-aggrandizing

  puffery. But they failed to provide the level of detail provided for the first time in the Davis

  Declaration about the                     at issue. Nor do these discovery responses provide specific

  citations to the source code VGT relies on, even though that information was specifically requested.

  VGT should have provided all information regarding its alleged trade secrets in its discovery

  responses. It should not be permitted to provide this information now through a declaration, which

  contains factual information improperly withheld, and expert opinion not disclosed in accordance

  with the scheduling order and the Rules. The Court should strike the Davis Declaration.




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          C.      The Davis Declaration is Neither Justified nor Harmless

          VGT’s failure to provide the information set forth in Mr. Davis’ Declaration during the

  course of discovery is neither justified nor harmless. Rule 26(e)(1) requires a party to supplement

  disclosures made in discovery, as well as responses to interrogatories and requests for production.

  See Fed. R. Civ. P. 26(e)(1). VGT’s failure to supplement its discovery as required prohibits VGT

  from using this information to support its motion for summary judgment unless the failure was

  substantially justified or is harmless. See Fed. R. Civ. P. 37(c)(1). In determining whether the

  nondisclosures are justified or harmless, the Court should consider the factors set forth in

  Woodworker’s Supply, Inc., 17 F.3d at 993.

          First, if VGT is able to rely upon the Declaration, Castle Hill will be prejudiced. It is

  prejudicial to Castle Hill that VGT failed to provide complete responses identifying its alleged trade

  secrets with specificity, including the source code implementing the same, until VGT filed a

  declaration in support of its motion for summary judgment. Castle Hill requested this information

  over a year ago. VGT began asserting the misappropriation

          March 22, 2018. See Correspondence from M. Sawyer to R. Gill dated March 22, 2018,

  attached as Exhibit N. As such, VGT had been studying the source code and investigating the

  remaining issues discussed in the Davis Declaration since at least as early as March 22, 2018.

          In part due to the Davis Declaration, VGT’s expert, Stacy Friedman, has submitted

  additional expert opinions which mirror Mr. Davis’ additional source code testimony, as discussed

  supra. The uncertainty in the substance of VGT’s expert testimony at trial is prejudicial to Castle Hill.

  See Jacobsen, 287 F.3d at 953. And it is prejudicial that Castle Hill’s experts have already issued

  rebuttal reports, and that Castle Hill has prepared Daubert motions and its motion for summary

  judgment in reliance on the state of VGT’s evidence at the close of fact and expert discovery.




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          There is no reasonable cure, and even if there were, any cure would delay trial. VGT

  unnecessarily filed multiple untimely declarations without leave of Court rather than relying on the

  facts and evidence of record. VGT had 32 pages of supplemental interrogatory responses supporting

  its trade secret claims, plus a technical expert, and there have been over 40 depositions taken in this

  case. It is telling that VGT still needed two lengthy declarations to explain             . Castle Hill

  has served expert reports, Daubert motions, and a motion for summary judgment relying on the

  discovery served by VGT and its expert reports. It would be unreasonable to allow VGT to subvert

  the Rules, and back-door untimely supplemental expert reports after Castle Hill has already spent

  significant resources working with the existing record before the Declarations, only to delay the

  pending motions and trial schedule.

          Finally, Mr. Davis’ Declaration suggests bad faith or willfulness by VGT. Castle Hill

  repeatedly demanded that VGT explain its trade secrets claim throughout the discovery period.

  VGT provided vague, rambling responses, and it took months before Castle Hill had any real

  concept of the substance behind the trade secret claims at issue. This eleventh-hour maneuver to

  submit additional testimony, opinions, and source code citations for its summary judgment motion,

  when all information should have been previously provided to Castle Hill to facilitate meaningful

  litigation of this case, suggests bad faith.

          The Davis Declaration is an improper back-door expert report, is not based on personal

  knowledge, and evades the rules governing supplemental discovery. The Declaration is not justified

  and is harmful to Castle Hill. The Court should strike the Davis Declaration.

  V.      CONCLUSION

          Defendants, Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks

  Development LLC respectfully request that their motion be granted.




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  Dated: November 16, 2018            Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 16th day of November, 2018, I caused a copy of the foregoing
  DEFENDANTS’ MOTION TO STRIKE DECLARATIONS OF STACY FRIEDMAN
  AND JOSH DAVIS SUBMITTED IN SUPPORT OF PLAINTIFF’S MOTION FOR
  PARTIAL SUMMARY JUDGMENT – PUBLIC REDACTED VERSION to be filed via the
  Court’s ECF system, which will provide electronic notification of filing to the following counsel for
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